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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
§
Vv. § CRIMINAL NO. 5:21-CR-01868
§
SIMON MEDINA III §

FACTUAL STATEMENT IN SUPPORT OF PLEA AGREEMENT

The United States of America, by and through Jennifer B. Lowery, Acting United States
Attorney for the Southern District of Texas and José Angel Moreno, Assistant United States
Attorney, and the defendant, SIMON MEDINA III and the defendant’s counsel, hereby stipulate
as follows:

I.

If this case proceeded to trial, the United States of America would prove each element of

the offense beyond a reasonable doubt. The following facts, among others, would be offered to
establish the Defendant’s guilt:
IL.

On July 6, 2020, the Joint Intake Center (JIC) in Washington, DC received an email which
reported that on July 4, 2020, Simon MEDINA, III. (MEDINA) allowed entry to a subject of a
TECS record and took what appeared to be a small plastic bag from the same subject. The JIC
notified CBP Office of Professional Responsibility (OPR) regarding the incident. According to
the JIC, MEDINA allowed Jose Roberto GRANADO (JGRANADO) to enter at the Juarez-
Lincoln Bridge 2 without referring him to secondary inspection based on a Homeland Security

Investigations (HSI) TECS hit. The TECS hit altered CBPOs that JGRANADO might be
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smuggling contraband commingled with merchandise known as “encargos”,' and requested that
the encargos be inspected.

On August 2, 2020, OPR received information from a CBP Supervisor that MEDINA had
released a vehicle containing encargos without inspection. The supervisor added that the person
released, Pablo GRANADO (PGRANADO), also had an active TECS hit for secondary
inspection. The supervisor also stated that MEDINA was not assigned to primary inspections and
had taken it upon himself to open a primary lane to allow PGRANADO to smuggle unknown
goods without inspection. CBP OPR confirmed via POE surveillance video that MEDINA
allowed JGRANADO and PGRANADO to smuggle goods into the United States without
referring them to secondary inspection as instructed by the TECS hits. OPR also discovered that
MEDINA allowed two other vehicles linked to JGRANADO to make entry on July 4, 2020 and
August 2, 2020. One vehicle was driven by Rafael ALVAREZ (ALVAREZ). Queries in CBP
databased revealed that MEDINA entered different name variations for the drivers and changed
license plate digits in TECS to avoid detection in order to further the smuggling scheme.

On August 6, 2020 a CBP Supervisor called OPR and advised that MEDINA had taken
over a Bridge 2 primary lane without authorization. OPR instructed him to monitor MEDINA’s
activities and to notify CBPOs at secondary to conduct an intensive examination of the previously
identified vehicles after they were released by MEDINA. As instructed, CBPOs conducted an
examination of a red Chevrolet Suburban driven by PGRANADO. OPR agents then responded

to the bridge.

 

' “Encargos” are merchandise brought into the U.S. by someone who does not own the
merchandise. CBP prohibits travelers from bringing encargos into the U.S. In the past, travelers
have attempted to smuggle narcotics commingled with encargos. CBP previously admonished
JGranado not to bring encargos into the U.S.
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Upon arrival, OPR agents were advised by CBP that PGRANADO had been stopped and
that PGRANADO still had an active TECS hit. PGRANADO was found in possession of
undeclared goods including 50 controlled and over the counter medications (54 different
packages), 10 beer cartons, and 11 bottles of liquor. CBP informed OPR that MEDINA was
assigned to Passport Control Secondary (PCS) for that shift. CBPOs assigned to PCS do not
conduct primary duties. CBP stated that MEDINA left his PCS station and opened a primary lane
without authorization. In addition, a SCBPO informed the agents that while he was watching
MEDINA in the supervisor’s office, MEDINA stated, “It’s an embarrassment. I may lose my job
for letting encargos in, just because they fixed my lawnmower.”

OPR SAs conducted queries of the vehicles that entered through MEDINA’s lane and
discovered that ALVAREZ had been allowed to enter without inspection a few minutes before
PGRANADO. OPR, HSI, and LPD conducted a search in the downtown area and located
ALVAREZ’s vehicle at a parking lot near El Metro Bus Station. LPD approached ALVAREZ
and asked ALVAREZ if he was willing to return to the POE for an inspection, and ALVAREZ
agreed. A subsequent inspection of the vehicle resulted in the discovery a large number of
commercial goods including 13 cartons of beer, 2 cartons of wine coolers, and 1 carton of Jimador
new mix.

OPR SAs interviewed MEDINA. MEDINA stated he was currently assigned to PCS and
that his duties did not include vehicle primary processing. MEDINA admitted he did not get
supervisory approval to do so. MEDINA admitted he processed ALVAREZ who had commercial
merchandise with him. MEDINA admitted he was aware that ALVAREZ had an active TECS
alert, but he disregarded it. MEDINA claimed that alerts for commercial violations were not a big

deal to him because he was looking for drugs. MEDINA admitted he allowed several transporters
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with commercial goods to cross through his lane without referring them to secondary. MEDINA
allewiniiedived that he was aware that commercial goods were supposed to go through one of the
commercial bridges. During a search of MEDINA’s phone, agents located a contact for
ALVAREZ. MEDINA confirmed that was the same ALVAREZ whom he had allowed to enter.
MEDINA stated that he had communicated with ALVAREZ about repairing MEDINA’s
pressure washer. MEDINA also stated that ALVAREZ was going to have some cabinets made
for one of MEDINA’s relatives, and that ALVAREZ had brought some facial scar cream to
MEDINA’s wife. MEDINA admitted that on this date, he had contacted ALVAREZ and told
ALVAREZ which lane MEDINA would be in to allow ALVAREZ to enter with commercial
goods. MEDINA admitted he had allowed ALVAREZ to enter commercial goods for the past
months. He further admitted that he had allowed PGRANADO to enter and that MEDINA
received a text from ALVAREZ inquiring if PGRANADO could also enter though his lane.
MEDINA admitted that he knew ALVAREZ and the GRANADOs worked together. MEDINA
explained that MEDINA would get a call from ALVAREZ inquiring if MEDINA would be
manning a lane to let them in. MEDINA further admitted that on more than one occasion he had
asked ALVAREZ to purchase products for MEDINA in Mexico. MEDINA admitted that
ALVAREZ had helped MEDINA with the repair of his lawnmower, but MEDINA claimed he
had paid ALVAREZ $25.00 for the repairs. MEDINA said he was in contact with ALVAREZ
once a week in order to allow ALVAREZ and the GRANADOs to enter with commercial goods.
He acknowledged being aware that the three had active TECS alerts.

On August 7, 2020, OPR SAs conducted database queries and obtained video surveillance
for all illegal entrics by ALVAREZ, JGRANADO, and PGRANADO through MEDINA’s

primary lanes. The agents located 22 entries between May and August 2020. In each, MEDINA
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If the Defendant is not a citizen of the United States of America, a plea of guilty may result
in removal from the United States, denial of citizenship and denial of admission to the United
States in the future. If the Defendant is a naturalized United States citizen, a plea of guilty may
_ result in denaturalization.

This document states the complete and only Plea Agreement between the United States of
America and the Defendant, and is binding only on the parties to this Agreement, and it supersedes
all prior understandings, if any, whether written or oral, and cannot be modified other than in
writing and signed by all parties or on the record in Court. No other promises or inducements
have been or will be made to the Defendant in connection with this case, nor have any promises
or threats been made in connection with this plea.

ACKNOWLEDGMENTS:

I have read this agreement and carefully reviewed every part of it with my attorney. If

have difficulty understanding the English language, I have had a person fluent in the Spanish

language interpret this agreement to me.
SLML=
Date: 3 ~OF7 22 Defendant: __ Loe

Tam the Defendant's counsel. 1 have carefully reviewed every part of this agreement with
the Defendant. I certify that this agreement has been translated to my client by a person fluent in
the Spanish language if my client is unable to read or has difficulty understanding the English

language.
Date: ’ you ph 1 o2)

For the United States of America: aig

WY bu
Adriana Arce-Florés

Counsel for Défen

 
 
 

Jennifer B. Lowery
Acting United States Attorney

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J6sé Angel Moreno

Assistant United States Attorney

 

 
